         Case 1:19-cv-02800-RC Document 45-1 Filed 04/25/22 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_________________________________

STEVE PAPPAS, et al.,

Individually and on behalf of all others
similarly situated,

       Plaintiffs,

v.                                                      Civil Action No. 19-2800 (RC)

DISTRICT OF COLUMBIA, et al.

       Defendants.


                     Exhibit List – Motion to Compel Discovery
Exhibit A – Pls.’ First Set of Requests for Production of Documents
Exhibit B – Pls.’ Second Set of Requests for Production of Documents
Exhibit C – March 24, 2022 Scheduling Order
Exhibit D – General Order 1001.1 – DC_Pappas0000066
Exhibit E – Executive Order 17-020 – DC_Pappas00195569
Exhibit F – Excerpts from Miranda Transcript (29-32, 46-51, 89-96, 108-112, 120-121; 152-153,
            170)
Exhibit G – July 2, 2021 Email
Exhibit H – July 14, 2021 Letter to Ds
Exhibit I – July 30, 2021 Email
Exhibit J – August 12, 2021 Email
Exhibit K – August 18, 2021 Email
Exhibit L – Malomo Transcript Excerpts (39, 130-133)
Exhibit M – September 20 court order
Exhibit N – December 13, 2021 Minute Order
Exhibit O – March 8 Letter to Pls’
Exhibit P – Series of Letters from Pls. to Defs.
         Case 1:19-cv-02800-RC Document 45-1 Filed 04/25/22 Page 2 of 2




Exhibit Q – Defs’ Responses and Objections to Pls.’ First RFPs
Exhibit R – Defs.’ Responses to Pls.’ Second RFPs
Exhibit S – Excerpts from Angela Simpson Transcript (1, 60, 70-71)
